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                                                                              4


                                                                                          May 9, 2019
                             U N ITE D STA TE S D ISTR ICT CO UR T
                             SO UTH ERN D ISTR ICT O F FLO R IDA
                    19-20273-CR-MORENO/LOUIS
                       CA SE N O .
                                       18U.S.C.j922(a)(6)
                                       18U.S.C.j924(d)(1)


 UNITED STATES OF AM ERICA




 BILL K .K APR I,a/k/a
 DIEUSON OCTAVE,a/k/a
 (SK ODAK BLACK,''

        D efendant.



                                         IN DIC TM EN T

        The G rand Jury charges that:
                                         C O U N TS 1 -2

        On or aboutthe date specified as to each countbelow , in M iam i-Dade County,in the

 Southern DistrictofFlorida,thedefendant,

                                     BILL K .IG PRI.a/k/a
                                  D IE USO N O CTAV E ,a/k/a
                                      ddK O DA K BLAC K ,''

 in connection withtheacquisition and attempted acquisition ofafirearm from a federally licensed

 firearmsdealer,did knowingly m ake afalse and tk titiouswritten statem entto the dealer, which

 statem entw as intended and likely to deceive the dealer w ith respect to any factm aterialto the

 law fulnessofthe sale and othcrdisposition ofsuch fireanns, in thatthe defendantstated in Bureau

 ofAlcohol,Tobacco,Fireanns,and Explosives Form 4473 thathe wasnotunderindictm entor

 informationinanycourtforafelony,orany othercrimeforwhichthejudgecould imprisonhim
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  form orethan one year,when in truth and in fact,and asthe defendantthen andtherewellknew,

 hewasunderindictmentorinfonnation forafelonyoranyothercrimeforwhichthejudgecould
 im prison him form ore than one year,asdescribed below :

     C O UN T             D ATE                    FED ER AL FIR EAR M S LICEN SEE
         1      Janu 25,2019                  Lou's Police D istributors
         2      M arch 1,2019                 Lou's Police D istributors

        A11inviolation ofTitle18,UnitedStatesCode,Section 922(a)(6).
                               FO R FEITUR E A LLEG A TIO N S

                The allegations contained in Counts 1 and 2 ofthis Indictm entare re-alleged and

 incorporated herein by reference for the purpose of alleging forfeiture to the U nited States of

 property in which the defendant,BILL K .K APR I,a/k/a D IEU SO N O C TA V E,a/k/a RK O D A K

 BLACK,''hasan interest.

        2.      Upon conviction ofany ofthe offensescharged in thislndictm ent,thedefendant,

 BILL K.K APRI,a/k/a DIEUSON OCTAVE,a/k/a 6SKO DAK BLACK ,M shallforfeitto the

 United Statesany firearm involved in the comm ission oftheoffenses.

        Allpursuantto Title 18,United States Code,Section 924(d)(1),and the proceduresset
 forth in Title 21,United States Code,Section 853,m ade applicable by Title 28,United States

 Code,Section2461(c).

                                                   A TRu>        uy

                                                   FO     P      N


 ARIAN A FAJ    O R SHA
 UN ITE STA T S TTO


 BRU    0 .BRO W N
 A SSISTA N T UN ITED STATES A TTO RN EY

                                               2
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                          UNITED STA TES DISTRICT CO URT
                          SO UTH ERN DISTRICT OF FLO RIDA

UNITED STATES OF AM ERICA                                  CA SE NO.
VS.                                                   CER TIFICA TE OF TRIA L A TTORNEYW

BILL K.KAPRI,alkla
DIEUSON OCTAVE,a/k/a
''KODAK BLACK,''
                                  D efendant

CourtDivision:(SelectOne)                                        New Defendantts) .--         Yes      No
                                                             N umberofNew Defendants
       sliam i             Key svest                                Totalnumberofcounts
       FTL -7-- NUPB                           FTP
       Idohereby certifythat:
       1.     lhavecarefully consideredtheallegationsoftheindictm entsthenumberofdefendants,thenum berofprobable
              witnessesandthelegalcomplexitiesofthelndictment/lnformation attachedhereto.
       2.        lam awarethattheinfonnation supplied on thisstatementwillbe relied uponbytheJudgesofthisCourtin
                 settingtheircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.
                 Section 3161.

                 Interpreter:         (YesorNo)        No
                 Listlanguageand/ordialect              ng 1sh
                 Thiscasewilltake              3      daysforthepartiestotry.
                 Pleasecheckappropriatecategory and typeofoffenselisted below :
                 (Checkonlyone)                                         (Checkonlyone)

       l         0 to 5days                    .%
                                                1                       Petty
       11        6 to l0days                                            M inor
       lll       11 to 20days                                           M isdem .
       IV        21 to 60days                                           Felony           %!
       V         6ldaysandover
       6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt?                 No    (YesorNo)
       lfyes:
       Judge:                                                        CaseNo.
                 (Attachcopyofdispositiveorder)
       Hasacomplaintbeenfiledinthismatter?              No         (YesorNo)No
       M agistrateCaseN o.
       Related M iscellaneousnum bers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20 from theDistrictof
       Isthisapotentialdeathpenaltycase?                     (YesorNo)              Np
                 Doesthiscaseoriginate from a m atterpending in theN orthern Region ofthe U.S.Attorney'sOfficepriorto
                 October14,2003?                Yes    V           No
       8.        Doesthis case originate from a matterpending in the Centra Region ofthe U .S.Attorney'sO ffice priorto
                 Septemberl,2007?                      Yes V No

                                                                           / -
                                                                 Bruce 0 .Brown
                                                                 AssistantUnited StatesAttorney
                                                                 FloridaBarN o.999490
PenaltySheetts)attached                                                                               REV 4/8/08
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                                U NITE D STAT ES D ISTR ICT CO UR T
                                SOUTHERN DISTRICT OF FLORIDA

                                      PEN A LTY SH EET



D efendantfsN am e: BILL K.KAPRI,a/k/a DIEUSON OCTAVE,
                      a/k/a I'KODAK BLACK.''

C ase N o:


C ounts 1.2:
M akinc a false statem entin connection w ith the acguisition orattem pted acnuisition ofa firearm
Title18sUnited StatesCodesSection 922(a)(6)
*M ax.Penalty:        M aximum 10 years'imprisonment;$250.000 fine;3years'supervised release



W*Refers only to possible term ofincarceration,does notinclude possible fines,restitution,special
assessm ents,parole term s,or forfeituresthatm ay be applicable.
